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 1                                                        HONORABLE RICHARD A. JONES

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 4
                              UNITED STATES DISTRICT COURT
 5                           WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE

 7    UNITED STATES OF AMERICA,                    Case No. CR18-0092-RAJ
 8                               Plaintiff,        ORDER EXTENDING DEADLINE
 9
                     v.                            FOR MOTIONS IN LIMINE AND
                                                   MOTIONS REGARDING JURY
10    BERNARD ROSS HANSEN and                      SELECTION
      DIANE RENEE ERDMANN,
11
                                 Defendants.
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14           THIS MATTER having come on before the above-entitled Court upon the

15   stipulation of counsel, and the Court having examined the records and being fully advised

16   in the matter, now, therefore,

17          IT IS HEREBY ORDERED that the parties’ stipulation (Dkt. #195) is GRANTED.

18   The deadline for filing motions in limine and motions regarding jury selection is extended

19   to January 8, 2021, with responses (if any) due on or before January 22, 2021.

20          DATED this 4th day of November, 2020.

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22
                                                     A
                                                     The Honorable Richard A. Jones
23                                                   United States District Judge

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      ORDER EXTENDING DEADLINE FOR
      MOTIONS IN LIMINE AND MOTIONS
      REGARDING JURY SELECTION
      (Case No. 18-cr-0092-RAJ) - 1
